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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

BRIAN BURCKHARTTE, )
)
Plaintiff, )
)

V. ) No.
)
GENERAL MOTORS CORPORATION, _ )
)
Defendant. )

COMPLAINT AT LAW

(COUNT I - CONSTRUCTION NEGLIGENCE)

NOW COMES the Plaintiff, BRIAN BURCKHARTTE, by and through his attorneys,
MORICI, FIGLIOLI & ASSOCIATES, and complaining of the Defendant, General Motors
Corporation, alleges as follows:
1. On or about August 21, 2017, the Defendant owned, controlled, and/or was in charge of
the erection, construction, repairs, alteration, removal, and/or painting in a certain building at the
General Motors Plant, 12200 Lafayette Center Road, in the City of Roanoke, County of
Huntington, and State of Indiana.
2. That at the aforementioned time and place, the Plaintiff was employed by Commercial
Contracting Corporation, and was on said premises in the furtherance of the aforesaid work.
3. That at the aforesaid time and place and prior thereto, the Defendant, individually and
through its agents, servants and employees, was present during the course of such erection,
construction, repairs, altercation, removal and/or painting. The Defendant participated in
coordinating the work being done and designated various work methods, maintained and
checked work progress and participated in the scheduling of the work and the inspection of the

work. In addition thereto, at that time and place, the Defendant had the authority to stop the
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work, refuse the work and materials, and order changes in the work, in the event the work was
being performed in a dangerous manner or for any other reason.
4, That at all times material to this Complaint, the Defendant had a duty to exercise
reasonable care in the erection, construction, placement, or operation of said construction site
including the provision of a safe, suitable and proper temporary safeguards for the safety of the
Plaintiff and others then and there working, and to provide those employed on the site with a safe
place to work.
5. That at the aforesaid time and place, the duties and responsibilities of the Plaintiff
required that he be present on the project when he was struck by the outrigger of a crane while in
furtherance of the aforementioned erection, construction, repairs, alterations, removal, and/or
painting.
6. Notwithstanding its duties, at said time and place, the Defendant, by and through its
agents, servants and employees, was then and there guilty of one or more of the following
careless and negligent acts and/or omissions:

a. Failed to make a reasonable inspection of the premises and the work being done

thereon, when the Defendant knew, or in the exercise of ordinary care should

have known, that said inspection was necessary to prevent injury to the Plaintiff;

b. Improperly operated, managed, maintained, and controlled the aforesaid premises,
so that as a direct and proximate result thereof, the Plaintiff was injured;

c. Failed to provide the Plaintiff with a safe place to work;

d. Failed to properly plan, schedule and coordinate the work;

e. Allowed the placement of a crane in an unsafe manner such that it struck the
Plaintiff;

f. Failed to allot sufficient room in which Plaintiff and his co-workers could safely
work;
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g. Permitted the use of a crane in an unsafe manner such that it struck
Plaintiff; and,

h. Failed to provide adequate protection and/or cordon off the area creating a
dangerous working area.

7. That as a direct and proximate result of one or more of the aforesaid careless and
negligent acts and/or omissions of the Defendant, the Plaintiff was caused to be struck, thereby
causing severe external and internal injuries, which led to a below the knee amputation of his left
leg, and was, and will be, hindered and prevented from attending to his usual duties and affairs
and has lost, and will in the future lose, the value of that time as aforementioned. Plaintiff also
suffered great pain and anguish, both in mind and body, and will in the future continue to suffer.
Plaintiff further expended and became liable for, and will expend and become liable for, large
sums of money for medical care and services endeavoring to become healed and cured of said
injuries.

WHEREFORE, Plaintiff, BRIAN BURCKHARTTE, prays that judgment be entered
against the Defendant, GENERAL MOTORS CORPORATION, for an amount in excess of the
$75,000.00 jurisdictional limits established by this court, plus the costs of this suit.

COUNT II
(Premises Liability)

NOW COMES the Plaintiff, BRIAN BURCKHARTTE, by and through his attorneys,
MORICTI, FIGLIOLI & ASSOCIATES, and complaining, of the Defendant, GENERAL
MOTORS CORPORATION, alleges as follows:
1. On or about August 21, 2017, the Defendant owned, controlled, and/or was in charge of
the erection, construction, repairs, altercation, removal, and/or painting of a certain building or
other structure at 12200 Lafayette Center Road, in the City of Roanoke, County of Huntington,

and State of Indiana.
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2. That at the time and place aforesaid, Plaintiff was a business invitee and was lawfully on
the premises of the Defendant's place of business for the purpose of performing construction
work.
3. That at said time and date, Defendant failed to p:ovide and/or ensure that a safe zone was
created and/or provided around a crane in use during the construction work.
4. That for some time prior to and at said time, the Defendant, through its agents and/or
employees, had actual notice, or in the alternative, had constructive notice of said condition, and
were aware an inadequate safe zone was provided and/or being utilized and was likely to lead to
accidents and/or injuries.
5. That at the time and place aforesaid, Plaintiff was standing on the ground level of the
building when he was struck and injured by a crane outrigger.
6. That at said time, the Defendant had the duty to maintain its premises, including the areas
where work was occurring and the area where the Plaintiff was required to work, in a reasonably
safe condition.
7. That at the time and place aforesaid, and notwithstanding said duty, the Defendant was
negligent in one or more of the following respects:
a. Failed to make a reasonable inspection of the premises and the work being done
thereon, when the Defendant knew, or in the exercise of ordinary care should

have known, that said inspection was necessary to prevent injury to the Plaintiff;

b. Improperly operated, managed, maintained, and controlled the aforesaid premises,
so that as a direct and proximate result thereof, the Plaintiff was injured;

c. Failed to provide the Plaintiff with a safe place to work;

d. Failed to properly plan, schedule and coordinate the work;

e. Allowed the placement of a crane in an unsafe manner such that it struck the
Plaintiff;
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f. Failed to allot sufficient room in which Plaintiff and his co-workers could safely
work;
g. Permitted the ongoing use of a crane in an unsafe manner such that it struck

Plaintiff; and,

h. Failed to provide adequate protection and/or cordon off the area creating a
dangerous working area.

8. That as a direct and proximate result of one or more of the aforesaid careless and
negligent acts and/or omissions of the Defendant, the Plaintiff was caused to be struck, thereby
causing severe external and internal injuries, which led to a below the knee amputation of his left
leg, and was, and will be, hindered and prevented from attending to his usual duties and affairs
and has lost, and will in the future lose, the value of that time as aforementioned. Plaintiff also
suffered great pain and anguish, both in mind and body, and will in the future continue to suffer.
Plaintiff further expended and became liable for, and will expend and become liable for, large
sums of money for medical care and services endeavoring to become healed and cured of said
injuries.

WHEREFORE, Plaintiff, BRIAN BURCKHARTTE, prays that judgment be entered
against the Defendant, GENERAL MOTORS CORPORATION, for an amount in excess of the

$75,000.00 jurisdictional limits established by this court, plus the costs of this suit.
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JURY DEMAND
Plaintiff BRIAN BURCKHARTTE demands trial by jury of all issues involved in this

case.
Respectfully Submitted,

/s/ Mitchell B. Friedman
Attorney for Plaintiff

Mitchell B. Friedman

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